                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                              SOUTHERN DIVISION
                                 No. 7:23-CV-897

IN RE:                                                  )   MEMORANDUM IN SUPPORT OF
                                                        )       MOTION TO EXCLUDE
CAMP LEJEUNE WATER LITIGATION                           )    THE OPINION TESTIMONY OF
                                                        )     MR. R. JEFFREY DAVIS AND
This Document Relates To:                               )      DR. NORMAN L. JONES
ALL CASES                                               )           Fed. R. Evid. 702


                                         INTRODUCTION

        The United States files this memorandum in support of its Motion to Exclude the Opinion

Testimony of Mr. R. Jeffrey Davis and Dr. Norman L. Jones regarding (i) the soundness of the

methodology employed by the Agency for Toxic Substances and Disease Registry (“ATSDR”)

in conducting water modeling for the Tarawa Terrace water distribution system at Marine Corps

Base Camp Lejeune, and (ii) the accuracy of the results of those modeling simulations.

        The United States does not dispute the soundness of ATSDR’s methodology in

simulating average monthly contaminant concentrations in drinking water for the purpose that

ATSDR intended—to provide relative exposure level estimates to inform ATSDR’s

epidemiological studies. However, the United States does dispute that ATSDR’s methodology

was intended to provide sufficiently accurate contaminant concentrations for historic individual

exposure levels. To the extent Mr. Davis and Dr. Jones are offering opinions about the soundness

of ATSDR’s methodology and accuracy of the Tarawa Terrace water model for any purpose,

those opinions should be excluded as unreliable under Daubert and Fed. R. Evid. 702. 1 Any


    1 The United States is moving independently to exclude all of Plaintiffs’ experts’ opinions related to

the use of ATSDR’s water modeling for a purpose other than the one for which it was intended, i.e., to be
used in epidemiological studies to determine relative levels of exposure to contamination at Camp Lejeune.
As outlined in this memorandum, irrespective of the intended use of the modeling, Mr. Davis and Dr. Jones
cannot testify as to the methodology employed by ATSDR to develop that model.
                                                    1

       Case 7:23-cv-00897-RJ            Document 357         Filed 04/29/25       Page 1 of 16
opinions Mr. Davis and Dr. Jones have offered or will offer about ATSDR’s methodology and

the accuracy of the modeling results are unreliable because Mr. Davis and Dr. Jones did not

consider sufficient facts or data or employ a reliable methodology in forming them.

                                  NATURE OF THE CASE

       Plaintiffs have filed actions for personal injury and wrongful death related to exposure to

contaminated water pursuant to the Camp Lejeune Justice Act of 2022, Pub. L. No. 117–168, §

804, 136 Stat. 1759, 1802–04 (2022).

                                  STATEMENT OF FACTS

       The Plaintiffs’ Leadership Group (“PLG”) disclosed jointly authored expert reports by

engineers Mr. R. Jeffrey Davis and Dr. Norman L. Jones in the Water Contamination Phase of

this case. The United States deposed both witnesses. Mr. Davis and Dr. Jones’s expert reports

center on ATSDR’s water modeling efforts related to the Tarawa Terrace water distribution

system at Camp Lejeune. Based on limited contaminant concentration sampling data from 1982

and 1985, ATSDR utilized computer modeling to estimate historic average monthly

concentrations of perchloroethylene (“PCE”) and its biodegradation byproducts

(trichloroethylene, trans-1,2-dichloroethylene, and vinyl chloride) in drinking water at Tarawa

Terrace from 1951 to 1987. See generally Exhibit 1, Morris L. Maslia et al., Analyses of

Groundwater Flow, Contaminant Fate and Transport, and Distribution of Drinking Water at

Tarawa Terrace and Vicinity, U.S. Marine Corps Base Camp Lejeune, North Carolina:

Historical Reconstruction and Present-Day Conditions – Chapter A: Summary of Findings

(2007).

       Mr. Davis and Dr. Jones performed what is known as a “post-audit” on ATSDR’s water

model for Tarawa Terrace. According to Mr. Davis, a post-audit is the process whereby one

takes “an existing calibrated groundwater flow and transport model . . . and extend[s] it forward

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       Case 7:23-cv-00897-RJ        Document 357        Filed 04/29/25      Page 2 of 16
in time and look[s] at the results of that model compared to data that existed within that extended

time.” Exhibit 2, Davis Dep. Tr. 45:12–22; see also Exhibit 3, Davis and Jones Initial Report, at

vi (“The audit extends the original model’s simulation period from 1995 to 2008 and assesses the

accuracy of its predictions by comparing simulated PCE concentrations to actual concentrations

measured at monitoring wells during this extended period.”).

       Mr. Davis and Dr. Jones offer the following opinion in their report regarding the accuracy

of ATSDR’s water modeling results and the methods used to develop them:

       In summary, the extended model demonstrates that the original model was
       developed using sound methods, and the model remains a reliable tool for
       understanding the general trends of contaminant migration in the Tarawa Terrace
       region. Based on this post-audit, we can find no significant evidence that would
       invalidate the analyses performed by ATSDR with the original model.

Exhibit 3, Davis and Jones Initial Report, at 6-1; see also Exhibit 4, Davis and Jones Rebuttal

Report, at 3-13 (“The model effectively simulates long-term trends in contaminant migration,

and we can find no significant evidence that would invalidate the analyses performed by ATSDR

with the original model.”); Exhibit 5, Jones Dep. Tr. 231:18–232:13 (“[T]he opinions we’ve

rendered on the model was that in terms of the -- how the model simulates concentrations at the

water treatment plant, it -- it is a reasonably accurate model developed using sound scientific and

engineering principles.”).

       Mr. Davis and Dr. Jones both admitted under oath that they did not read substantial

portions of the ATSDR chapter reports (i.e., individual “chapters”) for the Tarawa Terrace model

that they opine was developed using sound methods. For example, Mr. Davis testified:

       Q. . . . You read Chapters A, C, and F; is that correct?
       A. Correct.
       Q. And those are the only chapters that you reviewed; correct?
       A. Correct.




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       Case 7:23-cv-00897-RJ         Document 357        Filed 04/29/25      Page 3 of 16
Exhibit 2, Davis Dep. Tr. 118:16–21. This means that Mr. Davis failed to review the six other

chapters detailing ATSDR’s water modeling efforts for Tarawa Terrace before opining on the

reliability of the model. Mr. Davis therefore cannot know what those six chapters describe, and

whether they support or disprove his opinions. The chapters Mr. Davis chose not to review

include:

   (1) Robert E. Faye, Chapter B: Geohydrologic Framework of the Castle Hayne Aquifer

       System (2007);

   (2) Stephen J. Lawrence, Chapter D: Properties and Degradation Pathways of Common

       Organic Compounds in Groundwater (2007);

   (3) Robert E. Faye et al., Chapter E: Occurrence of Contaminants in Groundwater (2007);

   (4) Wonyong Jang et al., Chapter G: Simulation of Three-Dimensional Multispecies,

       Multiphase Mass Transport of Tetrachloroethylene (PCE) and Associated Degradation

       By-Products (2008);

   (5) Jinjun Wang et al., Chapter H: Effect of Groundwater Pumping Schedule Variation on

       Arrival of Tetrachloroethylene (PCE) at Water-Supply Wells and the Water Treatment

       Plant (2008); and

   (6) Morris L. Maslia et al., Chapter I: Parameter Sensitivity, Uncertainty, and Variability

       Associated with Model Simulations of Groundwater Flow, Contaminant Fate and

       Transport, and Distribution of Drinking Water (2009).

Similarly, Dr. Jones testified:

       Q. . . . So according to this [Materials Considered] list, you considered ATSDR’s
       Tarawa Terrace Chapters A, F, and C; is that correct?
       A. Correct.
       Q. Did you review any other chapters of ATSDR’s Tarawa Terrace reports?
       A. I skimmed through some of the others, but not in the same detail that I read
       Chapters A, C, and F.


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       Case 7:23-cv-00897-RJ        Document 357       Filed 04/29/25     Page 4 of 16
Exhibit 5, Jones Dep. Tr. 85:2–10. Dr. Jones further testified: “I believe I skimmed through all of

them, but -- just to see what was there, but I -- I did not do a -- as thorough a reading of those

chapters as I did of A, C, and F.” Id. at 86:4–10. In fact, Dr. Jones testified that he intentionally

did not review the remaining chapters:

       Chapter A is kind of a comprehensive summary, as I understand it, of all of the
       work that was done, including what was put in those other chapters. And so I felt
       like I had a reasonably good exposure to the overall methods and processes that
       were used and then described in more detail in those chapters.

Id. at 87:18–25. Contrary to Dr. Jones’s belief, the chapters these experts either ignored or

“skimmed” lay out in detail the methodology on which Mr. Davis and Dr. Jones purport to offer

opinions. Mr. Davis and Dr. Jones both read Chapter A, which specifically stated that the

“[r]eports for Chapters B–K present detailed information, data, and analyses,” Exhibit 1 at A5,

yet Mr. Davis and Dr. Jones failed to conduct a meaningful review of several of these chapters. 2

       In addition to reading only a subset of the chapters, Mr. Davis and Dr. Jones did not

independently evaluate the appropriateness of the parameters, or model inputs, used by ATSDR

in its modeling effort. Exhibit 5, Jones Dep. Tr. 165:4–7 (“Q: Did you perform any independent

evaluation of the appropriateness of those parameters? A: No.”). Moreover, Mr. Davis and Dr.

Jones did not consider any of the many outside criticisms of ATSDR’s water model for Tarawa

Terrace. For example, the Naval Facilities Engineering Command of the Department of the Navy

(“Navy”) issued a letter to ATSDR providing recommendations and documenting critiques of the

Tarawa Terrace model. ATSDR responded to this letter, addressing the criticisms and concerns

raised by the Navy. See generally Exhibit 6, Response to the Department of the Navy’s Letter

on: Assessment of ATSDR Water Modeling for Tarawa Terrace. At deposition, Mr. Davis


2 The words “report” and “chapter” are used interchangeably by both Parties’ experts to describe the

subsections of ATSDR’s water modeling analysis at Tarawa Terrace. Additionally, Chapters J and K were
never published, but the United States produced drafts of each during fact discovery.
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       Case 7:23-cv-00897-RJ          Document 357        Filed 04/29/25      Page 5 of 16
confirmed that he did not review the Navy’s evaluation of the Tarawa Terrace model or

ATSDR’s response. He stated:

          Q. BY MS. SILVERSTEIN: When you were working on the post-audit for the
          Tarawa Terrace drinking water system, did you consider the Navy’s criticism on
          the ATSDR model in forming your opinion?
          MS. BAUGHMAN: Objection. Form.
          THE WITNESS: I wasn’t aware of the Navy’s criticism.
          Q. BY MS. SILVERSTEIN: So then were you aware of [then-ATSDR employee]
          Mr. Maslia’s response to the Navy criticism?
          MS. BAUGHMAN: Objection. Form.
          THE WITNESS: No.

Exhibit 2, Davis Dep. Tr. 70:4–18. Additionally, the National Research Council (“NRC”), a

body of the National Academies of Sciences, Engineering, and Medicine, published a review of

ATSDR’s work at Camp Lejeune. Exhibit 7, NRC, Contaminated Water Supplies at Camp

Lejeune: Assessing Potential Health Effects (2009). The NRC concluded that ATSDR’s Tarawa

Terrace model was “suitable only for estimating long-term exposure qualitatively.” Id. at 65

(emphasis added). Dr. Jones testified that he only “skimmed” the NRC’s evaluation of ATSDR’s

Tarawa Terrace model in forming opinions about the soundness of ATSDR’s methodology. He

stated:

          Q. BY MR. ANTONUCCI: Dr. Jones, you’ve mentioned you’re aware of the NRC
          critique of -- or the NRC’s review of the Camp Lejeune modeling done by ATSDR;
          is that right?
          A. That’s correct.
          Q. Have you read [it] before?
          A. I have skimmed through it, and I can’t say I’ve read every part of it, no.

Exhibit 5, Jones Dep. Tr., 166:24–167:7. Taken together, Mr. Davis and Dr. Jones’s incomplete

review fails to provide the necessary support for their broad conclusions on the accuracy of

ATSDR’s water model and the methodology employed to create it.




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          Case 7:23-cv-00897-RJ      Document 357       Filed 04/29/25    Page 6 of 16
                                     LEGAL STANDARD

       Under Fed. R. Evid 702, expert testimony is admissible if it (a) “will help the trier of fact

to understand the evidence or to determine a fact in issue,” (b) “is based on sufficient facts or

data,” (c) “is the product of reliable principles and methods,” and (d) “reflects a reliable

application of the principles and methods to the facts of the case.” Under this Rule, courts must

“ensur[e] that an expert’s testimony . . . rests on a reliable foundation.” Belville v. Ford Motor

Co., 919 F.3d 224, 232 (4th Cir. 2019) (quoting Daubert v. Merrell Dow Pharms., Inc., 509 U.S.

579, 597 (1993)). The Court must assess “whether the reasoning or methodology underling the

testimony is scientifically valid and . . . whether that reasoning or methodology properly can be

applied to the facts in issue.” Daubert, 509 U.S. at 592–93.

                                         ARGUMENT

       The proffered opinions of Mr. Davis and Dr. Jones that “the ATSDR model was

developed using a methodology that is scientifically sound” and is accurate must be excluded

because Mr. Davis and Dr. Jones lacked sufficient facts and data to render these opinions, and

they failed to employ a reliable methodology in forming them. Exhibit 4, Davis and Jones

Rebuttal Report, at 3-13; Exhibit 5, Jones Dep. Tr. 231:18–232:13. Prior to opining that ATSDR

used a scientifically sound methodology, Mr. Davis and Dr. Jones had not read the majority of

the reports containing the analysis they opined upon. Mr. Davis and Dr. Jones also failed to

address criticisms of ATSDR’s work put forward by the Navy or NRC. Their opinion testimony

regarding the accuracy and soundness of ATSDR’s methodology is based solely on their reading

of a small subset of ATSDR’s reports and must therefore be excluded under Fed. R. Evid. 702.




                                                7

       Case 7:23-cv-00897-RJ         Document 357        Filed 04/29/25      Page 7 of 16
  I.   Mr. Davis and Dr. Jones Failed to Consider the Majority of the Report Chapters
       About the Model They Claim Utilized Sound Methodology, and They Ignored
       Contrary Scientific Literature.

       Mr. Davis and Dr. Jones’s opinion regarding the soundness of ATSDR’s methodology

and accuracy of ATSDR’s water model was not based on sufficient facts or data. Mr. Davis

opined that he evaluated the methodology used by ATSDR by “read[ing] the process that they

went through.” Exhibit 2, Davis Dep. Tr. 267:19–25. Yet, he testified he did not read six of the

nine chapters that describe that very process. Similarly, Dr. Jones testified that his evaluation of

ATSDR’s probabilistic analysis was limited to reading a summary about the analysis in question.

Exhibit 5, Jones Dep. Tr. 164:17–23. As with Mr. Davis, Dr. Jones failed to closely or

thoroughly read six of the nine chapters that make up ATSDR’s Tarawa Terrace water modeling

reports. Exhibit 5, Jones Dep. Tr. 86:4–10. Accordingly, Mr. Davis and Dr. Jones’s opinion

regarding the accuracy and soundness of ATSDR’s modeling is based entirely on their reading of

only a portion of the chapters describing those methods, while ignoring the majority of the

chapters. The paucity of information on which Mr. Davis and Dr. Jones formed their opinion

makes clear that their conclusion that ATSDR used a reliable methodology is based solely on

their ipse dixit. See Gen. Elec. Co. v. Joiner, 522 U.S. 136, 146 (1997) (holding that “a court may

conclude that there is simply too great an analytical gap between the data and the opinion

proffered.”).

       In E.E.O.C. v. Freeman, the Fourth Circuit affirmed the exclusion of an expert witness

where the witness “cherry-picked” data. 778 F.3d 463, 468–73 (4th Cir. 2015). In Freeman, the

District Court found that the E.E.O.C.’s industrial psychologist ignored materials produced

during discovery when rendering an opinion on the defendant’s credit check policy. Id. The

Fourth Circuit recognized that the expert in Freeman drew “broad conclusions from incomplete

data.” Id. at 468–69 (Agee, J., concurring). This expert omitted “important information from
                                                 8

       Case 7:23-cv-00897-RJ          Document 357        Filed 04/29/25      Page 8 of 16
relevant periods and locations” and “ignored relevant criminal background check data . . . .” Id.

at 469. Accordingly, that witness’s testimony was found unreliable and excluded. Id. at 468.

        Here, as with the excluded witness in Freeman, Mr. Davis and Dr. Jones disregarded

readily available and relevant information on their own accord. The United States is not arguing

that Mr. Davis and Dr. Jones should be excluded simply because they failed to review available

discovery; rather, the information they disregarded is central to the opinions that they are offering.3

All chapters of ATSDR’s water modeling reports on Tarawa Terrace were both publicly available

and produced to PLG over the course of fact discovery in this litigation. These chapters provide

detailed analysis of topics on which Mr. Davis and Dr. Jones opine. For example, Dr. Jones

testified, “I think they did a reasonable job of simulating or estimating uncertainty in the model

through their Monte Carolo analysis and presenting that to the public in their reports.” Exhibit 5,

Jones Dep. Tr. 175:1–6. However, Chapter I, which Mr. Davis and Dr. Jones failed to review in

meaningful detail, contains detailed information and interpretations of uncertainty associated with

the model simulations. Exhibit 1, at A12. Dr. Jones testified that he “may have read [Chapter I] a

little more carefully than the others, but certainly not to the same depth of analysis as” Chapters

A, C, and F. Exhibit 5, Jones Dep. Tr. 87:7–17. Rather than reviewing this “detailed” information,

Mr. Davis and Dr. Jones chose instead to draw a broad conclusion from a summary of this chapter.

Id. at 87:18–25.




    3 This makes the instant situation distinguishable from that of SAS Institute, Inc. v. World Programming

Ltd., 125 F. Supp. 3d 579, 590 (E.D.N.C. 2015), aff’d, 874 F.3d 370 (4th Cir. 2017). In SAS Inst., Inc., this
Court found that an expert need not review all available evidence where such evidence would have been
irrelevant to his methodology and did not impact his overall conclusion. Unlike SAS Inst., Inc., the
information Mr. Davis and Dr. Jones ignored here was highly relevant. It stands to reason that, where an
expert’s methodology consists of “read[ing] the process[,]” actually reading all the chapters detailing “the
process” is essential to that methodology. Exhibit 2, Davis Dep. Tr. 267:19–25. The report chapters Mr.
Davis and Dr. Jones skimmed or outright ignored contained “detailed information, data, and analyses” of
topics on which Mr. Davis and Dr. Jones directly opined. Exhibit 1 at A5.
                                                     9

        Case 7:23-cv-00897-RJ            Document 357          Filed 04/29/25        Page 9 of 16
       Moreover, Mr. Davis and Dr. Jones entirely ignored or “skimmed” information that

contradicted their opinions, such as the Navy letter and NRC report that offered detailed

criticisms of aspects of ATSDR’s Tarawa Terrace model. These documents discuss topics central

to Mr. Davis and Dr. Jones’s opinions, such as the purported level of accuracy of the model, the

uncertainty of the results, and the methodology employed in reaching ATSDR’s conclusions. See

generally Exhibit 7, NRC Report, at 28–66; Exhibit 6, Response to the Department of the Navy’s

Letter on: Assessment of ATSDR Water Modeling for Tarawa Terrace.

       In Yates v. Ford Motor Co., this Court found an expert’s opinion to be unreliable and

excludable where the expert failed to acknowledge or account for evidence tending to refute the

expert’s theory. 113 F. Supp. 3d 841, 858 (E.D.N.C. 2015). In Yates, the expert failed to account

for two scientific studies produced by the plaintiffs that contradicted his ultimate opinion. Id.

Here, as in Yates, Mr. Davis and Dr. Jones failed to acknowledge the Navy letter which directly

contradicted their ultimate conclusions on the accuracy of ATSDR’s model and the methodology

employed to create it. See generally Exhibit 3, Davis and Jones Initial Report; Exhibit 4, Davis

and Jones Rebuttal Report.

       Curiously, Mr. Davis and Dr. Jones cited the NRC’s report in their Rebuttal Report,

despite testifying that they only “skimmed” it. Exhibit 4, Davis and Jones Rebuttal Report, at 3-

7; Exhibit 5, Jones Dep. Tr., 166:24–167:7. However, Mr. Davis and Dr. Jones chose only to

engage with the portion of the report with which they agreed. Exhibit 4, Davis and Jones

Rebuttal Report, at 3-7 (“The National Research Council review of the ATSDR modeling studies

noted that the calibration target was arbitrary.”). 4 The remainder of their Rebuttal Report makes

no mention of NRC’s conclusion, contrary to their own, that ATSDR’s reporting of precise


   4 The arbitrary nature of model calibration targets is not in dispute.



                                                   10

      Case 7:23-cv-00897-RJ            Document 357         Filed 04/29/25   Page 10 of 16
simulated concentrations of contaminants without error bounds “leads to a misleading perception

that reactive transport models can make accurate predictions.” Exhibit 7, NRC Report, at 49.

Like the expert in Yates, Mr. Davis and Dr. Jones did not account for contrary scientific

opinions. 113 F. Supp. at 858. Mr. Davis and Dr. Jones’s failure to account for the Navy and the

NRC’s criticisms of ATSDR’s work makes their opinions subject to exclusion because they rest

on an incomplete set of facts and data.

 II.      In Opining about the Soundness ATSDR’s Methodology, Mr. Davis and Dr. Jones
          Failed to Evaluate the Underlying Conceptual Model, the Input Parameters, and
          Assumptions Upon Which the Model Relied.

          Mr. Davis and Dr. Jones did not attempt to evaluate the methodology employed in

ATSDR’s water modeling, let alone the assumptions or data underlying the modeling, despite

offering the opinion that the water modeling was based on sound methodologies. Mr. Davis and

Dr. Jones acknowledged that their post-audit merely extended ATSDR’s groundwater model

several years into the future without independently assessing the inputs to the model, the

appropriateness of the conceptual model underpinning the numerical model, or otherwise testing

ATSDR’s methods. 5 Exhibit 2, Davis Dep. Tr. 119:9–16.

          Specifically, Mr. Davis and Dr. Jones failed to review or analyze the conceptual model or

input parameters underlying the ATSDR Tarawa Terrace water model. The reliability of the

model is dependent on both the underlying conceptual model and input parameters—if these are

not appropriate or reliable, the model results, by definition, are also not appropriate or reliable.

See Sommerville v. Union Carbide Corp., No. 2:19-CV-00878, 2024 WL 1204094, at *11




       5 A conceptual model is “a hypothesis for how a system or process operates.” Exhibit 8, Konikow Dep.

Tr. 106:23–108:4. The conceptual model informs model development. Exhibit 8, Konikow Dep. Tr. 182:4–
7. Parameters are model inputs similar to coefficients in an equation. Exhibit 8, Konikow Dep. Tr. 118:7–
22.

                                                     11

         Case 7:23-cv-00897-RJ           Document 357         Filed 04/29/25       Page 11 of 16
(S.D.W. Va. Mar. 20, 2024) (excluding evidence of air dispersion modeling where parameter

selection was based only on the witness’s ipse dixit).

       The conceptual model is the basis for the contaminant flow and transport model that Mr.

Davis and Dr. Jones opine is reliable. Mr. Davis and Dr. Jones only evaluated ATSDR’s

conceptual model “to the extent [it was] specified” in the chapters that they read. Exhibit 2,

Davis Dep. Tr. 118:16–119:8. Mr. Davis and Dr. Jones similarly evaluated the selection of

boundary and initial conditions (hydrologic properties important for ensuring the model reflects

real-world conditions) “only to the extent of reading the reports.” Exhibit 2, Davis Dep. Tr.

119:17–21.

       Dr. Jones also admitted that he and Mr. Davis failed to perform any independent

evaluation of the appropriateness of the input parameters that ATSDR used. Exhibit 5, Jones

Dep. Tr. 165:4–7. Instead, the methodology Mr. Davis and Dr. Jones utilized to evaluate

ATSDR’s assumptions for the model parameters and inputs was to “assume[] that the numbers

that [ATSDR] reported in the document were reliable.” Exhibit 2, Davis Dep. Tr. 268:1–10.

       Notably, the chapters Mr. Davis and Dr. Jones read did not include ATSDR’s description

of parameter sensitivity, uncertainty, and variability, rendering it impossible for Mr. Davis and

Dr. Jones to have had adequate information to make a determination about the model’s accuracy.

In the analogous context of air dispersion modeling, the Southern District of West Virginia was

troubled by an expert’s failure to evaluate the appropriateness of air dispersion model inputs and

parameters. Union Carbide, 2024 WL 1204094, at *11–14. As in Union Carbide, Mr. Davis and

Dr. Jones took for granted the assumptions and parameters ATSDR built into its model.

Ultimately, Mr. Davis acknowledged that analyzing ATSDR’s methodology was tangential to




                                               12

      Case 7:23-cv-00897-RJ         Document 357         Filed 04/29/25    Page 12 of 16
the task they were given, as they were “asked to extend the model, not critique . . . the model.”

Exhibit 2, Davis Dep. Tr. 119:9–16.

       Mr. Davis and Dr. Jones’s post-audit cannot serve as the basis for their opinions about the

soundness of ATSDR’s modeling methodology or the accuracy of its results. 6 First, Mr. Davis

and Dr. Jones disclaimed that their post-audit was the basis for the opinion that the ATSDR

model was reliable. Instead, Mr. Davis explained that he and Dr. Jones only evaluated the

methodology used by ATSDR “to the extent that [they] read the process that [ATSDR] went

through.” Exhibit 2, Davis Dep. Tr. 267:19–25. Mr. Davis further conceded that it “would be fair

to say that [his] opinion that ATSDR’s model was developed using a scientifically sound

methodology is limited to the methodology discussed in Chapters A, C, and F of the Tarawa

Terrace models . . . .” Id. at 269:9–18.

       Second, even if Mr. Davis and Dr. Jones had relied on the post-audit as the basis for their

opinion that the ATSDR model is reliable, Mr. Davis and Dr. Jones did not evaluate the model

input parameters. Instead, they used model input parameters that were provided to them by PLG.

Exhibit 5, Jones Dep. Tr. 265:13–17 (“Q: Okay. Dr. Jones, in the post-audit you used the model

input parameters that were provided to you by the legal team; right? A: Yes.”). Mr. Davis

admitted that he had no opinion on whether ATSDR “used reliable processes to determine those

parameters[.]” Exhibit 2, Davis Dep. Tr. 268:22–269:3. Accordingly, Mr. Davis and Dr. Jones’s

opinion regarding the methodology employed by ATSDR is based solely on their review of the

published reports, of which they have carefully read only three of the nine total chapters. Mr.

Davis and Dr. Jones also did not take into account the Navy or the NRC’s critiques of ATSDR’s


   6 Assuming, arguendo, that a post-audit could be used to effectively evaluate the model’s performance

between 1995 and 2008, the period for which Mr. Davis and Dr. Jones had additional data to compare to
the model simulated values, this does not indicate that the methodology employed was sound. Nor would
it indicate that the model accurately predicted concentrations for the period before 1995.
                                                 13

      Case 7:23-cv-00897-RJ           Document 357         Filed 04/29/25       Page 13 of 16
modeling. This is not a reliable methodology, and the opinion should therefore be excluded

under Fed. R. Evid. 702.

                                         CONCLUSION

       Mr. Davis and Dr. Jones’s evaluation of ATSDR’s methodology and the accuracy of the

Tarawa Terrace water model results was limited merely to their reading of a subset of the report

dedicated to the modeling efforts, ignoring six of the nine chapters and contrary scientific

opinions. Mr. Davis and Dr. Jones’s choice to base their opinions on a selective reading of the

evidence—in some instances cherry-picking quotations that support their opinions from a report

that ultimately contradicts their conclusions—is illustrative of their disregard for critical

evidence in this case. Their opinion that the model employed a sound methodology and was

accurate for determining the historic concentrations of contaminants in drinking water is

therefore unsupported by sufficient facts and data and was not formed based on reliable

principles and methods. For these reasons, Mr. Davis and Dr. Jones’s opinion regarding

soundness of the methodology employed in ATSDR’s water model, and the accuracy of any

results from that model, must be excluded under Fed. R. Evid. 702.



[Signature page to follow.]




                                                14

      Case 7:23-cv-00897-RJ          Document 357        Filed 04/29/25      Page 14 of 16
Dated: April 29, 2025                  Respectfully submitted,

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                                       (202) 353-4426

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                                       United States of America



                                      15

      Case 7:23-cv-00897-RJ   Document 357    Filed 04/29/25      Page 15 of 16
                                  CERTIFICATE OF SERVICE

          I hereby certify that on April 29, 2025 I electronically filed the foregoing using the

Court’s Case Management/Electronic Case Files system, which will send notice to all counsel of

record.



                                                   /s/ Giovanni Antonucci
                                                   GIOVANNI ANTONUCCI




                                                 16

      Case 7:23-cv-00897-RJ           Document 357        Filed 04/29/25     Page 16 of 16
